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                  IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

 UNITED STATES OF AMERICA,

        PLAINTIFF,

 V.

 THE STATE OF TEXAS; GREG ABBOTT IN HIS        CASE NO. 1:24-CV-00008-DAE (LEAD CASE)
 OFFICIAL CAPACITY AS GOVERNOR OF
                                               CONSOLIDATED WITH 1:23-CV-1537-DAE
 TEXAS; TEXAS DEPARTMENT OF PUBLIC
 SAFETY; STEVEN C. MCCRAW, IN HIS
 OFFICIAL CAPACITY AS DIRECTOR OF TEXAS
 DEPARTMENT OF PUBLIC SAFETY,

        DEFENDANTS.


  [PROPOSED] ORDER GRANTING DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF
            TIME TO RESPOND TO LAS AMERICAS PLAINTIFFS’ COMPLAINT

       Before the Court is the Defendants’ Unopposed Motion for Extension of Time to Respond

to Las Americas Plaintiffs’ Complaint. After consideration of the motion, record, and relevant

authorities, the Court hereby GRANTS the Motion and EXTENDS the deadline to file a

response to the Plaintiffs’ Complaint in Case No. 1:23-cv-1537 by thirty days, from April 1, 2024,

to May 1, 2024.

       SO ORDERED this 20th day of March, 2024.



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                                             HON. DAVID A. EZRA
                                             SENIOR UNITED STATES DISTRICT JUDGE
